

People v Diaz (2018 NY Slip Op 07958)





People v Diaz


2018 NY Slip Op 07958


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Sweeny, J.P., Gische, Kapnick, Gesmer, Moulton, JJ.


7675 2325/15

[*1]The People of the State of New York, Respondent,
vLuis Diaz, Defendant-Appellant.


Arnold &amp; Porter Kaye Scholer, New York (Ian Jay of counsel), and Robert S. Dean, Center for Appellate Litigation, New York (Jan Hoth of counsel), for appellant.
Luis Diaz, appellant pro se.
Cyrus R. Vance, Jr., District Attorney, New York (Noreen M. Stackhouse of counsel), for respondent.



Judgment, Supreme Court, New York County (A. Kirke Bartley, Jr., J.), rendered March 7, 2016, as amended April 27, 2016, convicting defendant, after a jury trial, of robbery in the second degree, and sentencing him to a term of five years, unanimously affirmed.
The verdict was not against the weight of the evidence (see People v Danielson, 9 NY3d 342, 348-349 [2007]). There is no basis for disturbing the jury's credibility determinations, including its rejection of defendant's attempt to explain his confession of guilt.
We perceive no basis for reducing the sentence.
We have considered and rejected defendant's pro se claims.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








